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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

    KHOLKAR VISHVESHWAR GANPAT,                                           CIVIL ACTION
       Plaintiff

    VERSUS                                                                NO. 18-13556

    EASTERN PACIFIC SHIPPING PTE, LTD.,                                   SECTION: “E” (4)
        Defendant


                  SCHEDULING ORDER FOR PRELIMINARY AND
                     PERMANENT INJUNCTION HEARING

        On August 18, 2021, Plaintiff filed a motion for a preliminary and permanent

injunction.1 On January 27, 2022, Plaintiff filed a motion2 to reset the submission date of

his motion for preliminary and permanent injunction.

        IT IS ORDERED that Plaintiff’s motion3 to reset the submission date on his

motion for preliminary and permanent injunction is GRANTED.4

        IT IS FURTHER ORDERED that a hearing on Plaintiffs’ request for a

preliminary and permanent injunction is hereby set for Monday, March 28 and

Tuesday March 29, 2022, beginning at 9:00 a.m. on both days.

        IT IS FURTHER ORDERED that Defendant will be allowed to depose Plaintiff

prior to the hearing on Plaintiff’s request for a preliminary and permanent injunction.

Plaintiff shall be made available for a deposition by videoconference on or before

February 28, 2022. The deposition will be limited in time to no more than three hours

and will be limited in scope to matters pertaining to the request for injunction.


1 R. Doc. 199.
2 R. Doc. 224.
3 Id.
4 Plaintiff’s motion (R. Doc. 200) seeking to expedite consideration of the motion for preliminary and

permanent injunction is HEREBY DENIED.

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       IT IS FURTHER ORDERED that Plaintiff shall file a pre-hearing memorandum

on or before March 14, 2022. Defendant shall file an opposition on before March 21,

2022. Plaintiff may file a reply memorandum on or before March 24, 2022.

       IT IS FURTHER ORDERED that a pre-hearing status conference will be held

by telephone on Friday, March 18, 2022 at 2:00 p.m.

       IT IS FURTHER ORDERED that the parties shall exchange and file on the

record witness and exhibit lists by Wednesday, March 23, 2022, at 5:00 p.m. Each

witness must be identified by name, address, and a brief statement of his or her

anticipated testimony. The listing of a witness as a representative of an entity is not

sufficient. Each exhibit must be listed with specificity and be Bates numbered. Broad,

general categories of exhibits are not sufficient.

       IT IS FURTHER ORDERED that a copy of all exhibits proposed to be used must

be delivered to opposing counsel and to the Court by Wednesday, March 23, 2022,

at 5:00 p.m.

       IT IS FURTHER ORDERED that all briefs and memoranda shall conform to

the following requirements in addition to those found in the Local Rules. Any brief or

memorandum that has more than 10 pages must contain all items listed below. Briefs and

memoranda that are 10 pages or less must contain items (3), (4), (6), and (7) listed below:

       1. A table of contents setting forth the page number of each section,
       including all headings designated in the body of the brief or memorandum.
       2. A table of citations of cases, statutes, rules, textbooks, and other
       authorities, alphabetically arranged.
       3. A short statement of the nature and stage of the proceeding.
       4. A statement of the issues to be ruled on by the Court and, with respect to
       each issue, a short statement, supported by authority, of the standard of
       review.
       5. A short summary of argument.
       6. The argument shall be divided under appropriate headings succinctly
       setting forth separate points.

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       7. A short conclusion stating the precise relief sought.

       IT IS FURTHER ORDERED that any document containing more than 50 pages

(including all exhibits and attachments) shall be submitted to the Court in hard copy

form, with tabs for exhibits, within 24 hours of filing on CM/ECF. Any party who submits

more than five exhibits with a document shall include a table of contents describing each

exhibit and which tab corresponds to each exhibit.

       IT IS FURTHER ORDERED that deadlines, cut-off dates, or other limits fixed

herein may be extended only by the Court upon timely motion filed in compliance with

the Local Rules and upon a showing of good cause. The hearing will not be continued,

even on joint motion, absent good cause or compelling reason. Likewise, the hearing will

not be continued because of the unavailability of a witness. Counsel should anticipate

such possibilities and be prepared to present testimony by written deposition, videotaped

deposition, or by stipulation. If, however, a continuance of the hearing is granted,

deadlines and cut off dates will be re-set by the Court.

       The pre-hearing deadlines in this case, as set forth herein, include the following:

 Plaintiff’s deposition on topics       On or before Monday, February 28, 2022
 relating to the injunction

 Plaintiff’s pre-hearing                Monday, March 14, 2022, at 5:00 p.m.
 memorandum must be filed on the
 record

 Pre-hearing conference by              Friday, March 18, 2022 at 2:00 p.m.
 telephone

 Defendant’s response to Plaintiff’s    Monday, March 21, 2022, at 5:00 p.m.
 pre-hearing memorandum must
 be filed on the record



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Parties must exchange and file on      Wednesday, March 23, 2022, at 5:00 p.m.
the record witness and exhibit lists
  Each witness must be
   identified by name and
   address, and must include a
   short statement of the
   witness’s anticipated
   testimony. The listing of a
   witness as a representative of
   an entity is not sufficient.
Exhibits must be Bates numbered.

Copies of all exhibits proposed to     Wednesday, March 23, 2022, at 5:00 p.m.
be used must be delivered to
opposing counsel and to the Court

Plaintiff’s reply memorandum may       Thursday, March 24, 2022, at 5:00 p.m.
be filed on the record

Preliminary and Permanent              Monday March 28, 2022, at 9:00 a.m. and
Injunction Hearing                     Tuesday, March 29, 2022 at 9:00 a.m.



     New Orleans, Louisiana, on this 31st day of January, 2022.


                                         ________________________________
                                                  SUSIE MORGAN
                                           UNITED STATES DISTRICT JUDGE




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